                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

MIKE BRINKMAN,

 Plaintiff,
                                                   CASE NO.: 8:20-CV-02453
-vs-

EQUIFAX INFORMATION SERVICES LLC
and ACCOUNT RESOLUTION SERVICES,
LLC,

 Defendants.
                                      /

                                   NOTICE OF MEDIATION

       PLEASE TAKE NOTICE that on the March 11, 2021, mediation will be held in the above-

captioned cause of action before, Peter J. Grilli, Mediator, via Zoom Video Conference due to the

ongoing pandemic (COVID-19).

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

via electronic mail this 4th day of December, 2020 to all parties of record via the court’s

CM/ECF Server.

                                                              /s/ Octavio “Tav” Gomez
                                                              Octavio “Tav” Gomez
                                                              Florida Bar No.: 0338620
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